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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     AUDREY FOBER, on behalf of herself and    ) Case No.
11   all others similarly situated,            )
                                               ) CLASS ACTION
12   Plaintiff,                                )
13                                             ) COMPLAINT FOR VIOLATIONS OF:
             vs.                               )
14                                             ) 1. NEGLIGENT VIOLATIONS OF THE
                                               )      TELEPHONE CONSUMER
15   MANAGEMENT AND TECHNOLOGY                 )      PROTECTION ACT [47 U.S.C. §227 ET
                                                      SEQ.]
16   CONSULTANTS, L.L.C., and DOES 1           ) 2. WILLFUL VIOLATIONS OF THE
     through 10, inclusive, and each of them,  )      TELEPHONE CONSUMER
17                                             )      PROTECTION ACT [47 U.S.C. §227 ET
     Defendants.                               )      SEQ.]
18
                                               )
19                                             ) DEMAND FOR JURY TRIAL
                                               )
20                                             )
                                               )
21
             Plaintiff, AUDREY FOBER (“Plaintiff”), on behalf of herself and all others similarly
22
     situated, alleges the following upon information and belief based upon personal knowledge:
23
24                                     NATURE OF THE CASE
25          1.      Plaintiff brings this action for herself and others similarly situated seeking

26   damages and any other available legal or equitable remedies resulting from the illegal actions
27   of MANAGEMENT AND TECHNOLOGY CONSULTANTS, L.L.C. (“Defendant”), in
28
     negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in


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     violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”),
 1
 2   thereby invading Plaintiff’s privacy.

 3
                                       JURISDICTION & VENUE
 4
 5          2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a resident
 6
     of California, seeks relief on behalf of a Class, which will result in at least one class member
 7
     belonging to a different state than that of Defendant, a company with its principal place of
 8
 9   business and State of Incorporation in Indiana state. Plaintiff also seeks up to $1,500.00 in

10   damages for each call in violation of the TCPA, which, when aggregated among a proposed
11   class in the thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
12
     Therefore, both diversity jurisdiction and the damages threshold under the Class Action
13
     Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
14
15          3.       Venue is proper in the United States District Court for the Central District of

16   California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a) because Defendant does
17   business within the state of California and Plaintiff resides within this District.
18
                                                  PARTIES
19
            4.      Plaintiff, AUDREY FOBER (“Plaintiff”), is a natural person residing in Orange,
20
21   California and is a “person” as defined by 47 U.S.C. § 153 (10).

22          5.      Defendant, MANAGEMENT AND TECHNOLOGY CONSULTANTS, L.L.C.
23
     (“Defendant” or “DEFENDANT”), is a marketing company and is a “person” as defined by 47
24
     U.S.C. § 153 (10).
25
            6.      The above named Defendant, and its subsidiaries and agents, are collectively
26
27   referred to as “Defendants.” The true names and capacities of the Defendants sued herein as

28   DOE DEFENDANTS 1 through 10, inclusive, are currently unknown to Plaintiff, who



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     therefore sues such Defendants by fictitious names. Each of the Defendants designated herein
 1
 2   as a DOE is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of

 3   Court to amend the Complaint to reflect the true names and capacities of the DOE Defendants
 4
     when such identities become known.
 5
             7.      Plaintiff is informed and believes that at all relevant times, each and every
 6
 7   Defendant was acting as an agent and/or employee of each of the other Defendants and was

 8   acting within the course and scope of said agency and/or employment with the full knowledge
 9   and consent of each of the other Defendants. Plaintiff is informed and believes that each of the
10
     acts and/or omissions complained of herein was made known to, and ratified by, each of the
11
     other Defendants.
12
13                                   FACTUAL ALLEGATIONS
14           8.      Beginning in or around June of 2015, Defendant contacted Plaintiff on her

15   cellular telephone, 714-887-3515, in an effort to sell or solicit its services.
16           9.      Defendant used an “automatic telephone dialing system”, as defined by 47
17
     U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to sell or solicit its business
18
     services.
19
20           10.     Defendant’s calls constituted calls that were not for emergency purposes as

21   defined by 47 U.S.C. § 227(b)(1)(A).
22
             11.     Defendant’s calls were placed to telephone number assigned to a cellular
23
     telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
24
     227(b)(1).
25
26           12.     Plaintiff is not a customer of Defendant’s services and has never provided any

27   personal information, including her cellular telephone number, to Defendant for any purpose
28
     whatsoever. Accordingly, Defendant never received Plaintiff’s “prior express consent” to


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     receive calls using an automatic telephone dialing system or an artificial or prerecorded voice
 1
 2   on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

 3
                                         CLASS ALLEGATIONS
 4
 5          13.     Plaintiff brings this action on behalf of herself and all others similarly situated,
 6
     as a member of the proposed class (hereafter “The Class”) defined as follows:
 7
 8                  All persons within the United States who received any telephone
 9                  calls from Defendant to said person’s cellular telephone made
                    through the use of any automatic telephone dialing system or an
10                  artificial or prerecorded voice and such person had not previously
                    consented to receiving such calls within the four years prior to
11                  the filing of this Complaint
12
            14.     Plaintiff represents, and is a member of, The Class, consisting of All persons
13
     within the United States who received any telephone calls from Defendant to said person’s
14
15   cellular telephone made through the use of any automatic telephone dialing system or an

16   artificial or prerecorded voice and such person had not previously not provided their cellular
17   telephone number to Defendant within the four years prior to the filing of this Complaint.
18
            15.     Defendant, its employees and agents are excluded from The Class. Plaintiff
19
     does not know the number of members in The Class, but believes the Class members number in
20
21   the thousands, if not more. Thus, this matter should be certified as a Class Action to assist in

22   the expeditious litigation of the matter.
23
            16.     The Class is so numerous that the individual joinder of all of its members is
24
     impractical. While the exact number and identities of The Class members are unknown to
25
     Plaintiff at this time and can only be ascertained through appropriate discovery, Plaintiff is
26
27   informed and believes and thereon alleges that The Class includes thousands of members.

28   Plaintiff alleges that The Class members may be ascertained by the records maintained by



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     Defendant.
 1
 2          17.     Plaintiff and members of The Class were harmed by the acts of Defendant in at

 3   least the following ways: Defendant illegally contacted Plaintiff and Class members via their
 4
     cellular telephones thereby causing Plaintiff and Class members to incur certain charges or
 5
     reduced telephone time for which Plaintiff and Class members had previously paid by having to
 6
 7   retrieve or administer messages left by Defendant during those illegal calls, and invading the

 8   privacy of said Plaintiff and Class members.
 9          18.     Common questions of fact and law exist as to all members of The Class which
10
     predominate over any questions affecting only individual members of The Class.               These
11
     common legal and factual questions, which do not vary between Class members, and which
12
13   may be determined without reference to the individual circumstances of any Class members,

14   include, but are not limited to, the following:
15                  a.    Whether, within the four years prior to the filing of this Complaint,
16                        Defendant made any call (other than a call made for emergency purposes
                          or made with the prior express consent of the called party) to a Class
17                        member using any automatic telephone dialing system or any artificial or
                          prerecorded voice to any telephone number assigned to a cellular
18
                          telephone service;
19                  b.    Whether Plaintiff and the Class members were damages thereby, and the
                          extent of damages for such violation; and
20                  c.    Whether Defendant should be enjoined from engaging in such conduct in
                          the future.
21
            19.     As a person that received numerous calls from Defendant using an automatic
22
     telephone dialing system or an artificial or prerecorded voice, without Plaintiff’s prior express
23
     consent, Plaintiff is asserting claims that are typical of The Class.
24
25          20.     Plaintiff will fairly and adequately protect the interests of the members of The

26   Class. Plaintiff has retained attorneys experienced in the prosecution of class actions.
27
            21.     A class action is superior to other available methods of fair and efficient
28



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     adjudication of this controversy, since individual litigation of the claims of all Class members
 1
 2   is impracticable. Even if every Class member could afford individual litigation, the court

 3   system could not. It would be unduly burdensome to the courts in which individual litigation
 4
     of numerous issues would proceed. Individualized litigation would also present the potential
 5
     for varying, inconsistent, or contradictory judgments and would magnify the delay and expense
 6
 7   to all parties and to the court system resulting from multiple trials of the same complex factual

 8   issues. By contrast, the conduct of this action as a class action presents fewer management
 9   difficulties, conserves the resources of the parties and of the court system, and protects the
10
     rights of each Class member.
11
             22.    The prosecution of separate actions by individual Class members would create a
12
13   risk of adjudications with respect to them that would, as a practical matter, be dispositive of the

14   interests of the other Class members not parties to such adjudications or that would
15   substantially impair or impede the ability of such non-party Class members to protect their
16
     interests.
17
             23.    Defendant has acted or refused to act in respects generally applicable to The
18
19   Class, thereby making appropriate final and injunctive relief with regard to the members of the

20   California Class as a whole.
21
                                    FIRST CAUSE OF ACTION
22                 Negligent Violations of the Telephone Consumer Protection Act
                                        47 U.S.C. §227 et seq.
23
             24.    Plaintiff repeats and incorporates by reference into this cause of action the
24
25   allegations set forth above at Paragraphs 1-23.

26           25.    The foregoing acts and omissions of Defendant constitute numerous and
27
     multiple negligent violations of the TCPA, including but not limited to each and every one of
28



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     the above cited provisions of 47 U.S.C. § 227 et seq.
 1
 2          26.      As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,

 3   Plaintiff and the Class Members are entitled an award of $500.00 in statutory damages, for
 4
     each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 5
            27.      Plaintiff and the Class members are also entitled to and seek injunctive relief
 6
 7   prohibiting such conduct in the future.

 8                              SECOND CAUSE OF ACTION
           Knowing and/or Willful Violations of the Telephone Consumer Protection Act
 9                                   47 U.S.C. §227 et seq.
10
            28.      Plaintiff repeats and incorporates by reference into this cause of action the
11
     allegations set forth above at Paragraphs 1-23.
12
13          29.      The foregoing acts and omissions of Defendant constitute numerous and

14   multiple knowing and/or willful violations of the TCPA, including but not limited to each and
15   every one of the above cited provisions of 47 U.S.C. § 227 et seq.
16
            30.      As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
17
     et seq., Plaintiff and the Class members are entitled an award of $1,500.00 in statutory
18
19   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

20   227(b)(3)(C).
21
            31.      Plaintiff and the Class members are also entitled to and seek injunctive relief
22
     prohibiting such conduct in the future.
23
     ///
24
25   ///

26   ///
27
     ///
28



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 1                                    PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 3
                                   FIRST CAUSE OF ACTION
 4
 5              Negligent Violations of the Telephone Consumer Protection Act
                                     47 U.S.C. §227 et seq.
 6
 7               As a result of Defendant’s negligent violations of 47 U.S.C. §227(b)(1),
                  Plaintiff and the Class members are entitled to and request $500 in statutory
 8                damages, for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B); and
 9               Any and all other relief that the Court deems just and proper.
10
                                 SECOND CAUSE OF ACTION
11
         Knowing and/or Willful Violations of the Telephone Consumer Protection Act
12                                 47 U.S.C. §227 et seq.
13
                 As a result of Defendant’s willful and/or knowing violations of 47 U.S.C.
14                §227(b)(1), Plaintiff and the Class members are entitled to and request treble
                  damages, as provided by statute, up to $1,500, for each and every violation,
15
                  pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C); and
16
                 Any and all other relief that the Court deems just and proper.
17
18
           Respectfully Submitted this 19th Day of October, 2015.
19
20
                                        LAW OFFICES OF TODD M. FRIEDMAN, P.C.
21
22                                       By:    /s Todd M. Friedman
23                                              Todd M. Friedman
                                                Law Offices of Todd M. Friedman
24                                              Attorney for Plaintiff
25
26
27
28



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